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 1   MARK J. CONNOT (10010)
     FOX ROTHSCHILD LLP
 2   1980 Festival Plaza Drive, Suite 700
     LAS VEGAS NV 89135
 3   Telephone: (702) 699-5924
     FACSIMILE: (702) 597-5503
 4   mconnot@foxrothschild.com
     Attorney for Defendant
 5   AETNA NETWORK SERVICES LLC
 6

 7
                          UNITED STATES DISTRICT COURT
 8                             DISTRICT OF NEVADA

 9

10   Stacy Hudson, M.D., DBA                   )
     AdvancedENT Sinus Center,                 )   Case No:   3:21-cv-00446-MMD-CLB
11                                             )
                           Plaintiff,          )   STIPULATION TO EXTEND THE
12                                             )   TIME TO RESPOND TO THE
           vs.                                 )   COMPLAINT
13                                             )
     Aetna Network Services LLC,               )
14   a CT Limited Liability Company,           )
     Roe Entities I-X and Doe Individuals I-X, )
15                                             )
                           Defendants.         )
16                                             )
                                               )
17

18

19         STIPULATION EXTENDING THE TIME TO RESPOND TO THE

20                                     COMPLAINT

21                                    (First Request)

22         Pursuant to Local Rules of Civil Procedure 6-1 and 6-2, the parties hereby

23   stipulate that the deadline for Defendant to respond to the Complaint shall be

24   extended from October 22, 2021, to December 3, 2021. This is the First Request to

25   extend the deadline. Good cause exists to extend the deadline so the parties may

26   evaluate potential settlement and because Defendant needs time to identify and

27

28
             Case 3:21-cv-00446-MMD-CLB Document 6 Filed 10/21/21 Page 2 of 4



 1   evaluate the underlying claims at-issue in order to answer, move, or otherwise

 2   respond to the Complaint.1

 3

 4            DATED this 20th day of October, 2021.

 5                                                              FOX ROTHSCHILD LLP
 6
                                                             By:     Mark J. Connot
 7                                                                   Mark J. Connot (10010)
                                                                     Attorney for Defendant Aetna Network
 8                                                                   Services LLC
 9
                                                            LEMONS, GRUNDY & EISENBERG
10

11                                                           By:     Alice Campos Mercado
                                                                     Alice Campos Mercado
12                                                                   Attorney for Plaintiff Stacy Hudson,
                                                                     M.D., dba AdvancedENT Sinus Center
13

14
     IT IS SO ORDERED:
15
     __________________________________
16
     UNITED STATES MAGISTRATE JUDGE
17
             October 21, 2021
     Dated: __________________________
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     1
      In accordance with the Local Rule 6-1IA, the Stipulation includes an “order in the form of a signature block on
27   which the court or clerk can endorse approval of the relief sought.” In addition, per the Court’s individual policies
     and procedures, a separate proposed order is also submitted.
28

                                                              -2-
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 1
                               CERTIFICATE OF SERVICE
 2

 3         The undersigned hereby certifies that the original of the foregoing has been

 4   electronically filed with the Clerk, United States District Court for the District of
 5
     Nevada, and that a copy has been served this date, via ECF, upon all counsel of
 6
     record.
 7
     Dated: October 20, 2021
 8

 9

10                                          FOX ROTHSCHILD LLP

11                                           By:    Mark J. Connot
12                                                  Mark J. Connot (10010)
                                                    Attorney for Defendant Aetna Network
13                                                  Services LLC

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             Case 3:21-cv-00446-MMD-CLB Document 6 Filed 10/21/21 Page 4 of 4



 1                         UNITED STATES DISTRICT COURT
                                DISTRICT OF NEVADA
 2

 3
     Stacy Hudson, M.D., DBA                   )
 4                                             )   Case No:    3:21-cv-00446-MMD-CLB
     AdvancedENT Sinus Center,
                                               )
 5                                             )   STIPULATION TO EXTEND THE
                           Plaintiff,
                                               )   TIME TO RESPOND TO THE
 6                                             )   COMPLAINT
           vs.
                                               )
 7                                             )
     Aetna Network Services LLC,
     a CT Limited Liability Company,           )
 8
     Roe Entities I-X and Doe Individuals I-X, )
                                               )
 9                                             )
                           Defendants.
                                               )
10                                             )
11

12
                                   (PROPOSED) ORDER
13
             AND NOW, on this _______ day of ________, 2021, in consideration of the
14
     parties Stipulation for an Extension of Time for Defendant to Respond to the
15
     Complaint, it is HEREBY ORDERED that the Stipulation is Granted. Defendant
16
     shall answer, move, or otherwise respond to the Complaint on or before December 3,
17
     2021.
18
                                                                   IT IS SO ORDERED:
19
                                                    __________________________________
20
                                                         The Honorable Miranda M. Du,
21                                                 UNITED STATES DISTRICT JUDGE

22                                                    Dated: __________________________
23

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